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                                     UNITED STATES COURT OF APPEALS
                                                FOR THE
                                             SECOND CIRCUIT

                      At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
              Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
              9th day of September, two thousand twenty-four.

              Before:         José A. Cabranes,
                                     Circuit Judge.
              ________________________________
               Vermont Federation of Sportsmen's
               Clubs, Powderhorn Outdoor Sports Center,             ORDER
               Inc., JPC, Inc., DBA Black Dog Shooting
               Supplies, Paul Dame, Marsha J. Thompson,             Docket No. 24-2026

                             Plaintiff - Appellants,

                 v.

               Matthew Birmingham, Director of the Vermont
               State Police, in his official and personal
               capacities, Charity Clark, Attorney General of the
               State of Vermont, in her official and personal
               capacities, Sarah George, State's Attorney for
               Chittenden County, in her official and personal
               capacities,

                         Defendants - Appellees.
               ________________________________

                       Appellants move the Court to hold this appeal in abeyance until 60 days after issuance of
              the Court’s decision in National Association for Gun Rights v. Lamont (2d Cir. No. 23-1162) or,
              if a petition for rehearing is filed in Lamont, 45 days after final disposition of any petition for
              rehearing.

                        IT IS HEREBY ORDERED that the motion is GRANTED, absent opposition.

                                                                    For the Court:
                                                                    Catherine O’Hagan Wolfe,
                                                                    Clerk of Court
